                                                                                                                                                                                          Case 18-32106 Document 178-3 Filed in TXSB on 06/06/18 Page 1 of 1


John Oldham

From:                                                                                                                                                                                                                                ebusinessgroup@zenithbank.com
Sent:                                                                                                                                                                                                                                Tuesday, January 9, 2018 4:06 AM
To:                                                                                                                                                                                                                                  Femi Ayoade; Dippo Bello
Subject:                                                                                                                                                                                                                             Transaction notification for ERIN PETROLEUM LIMITED

Importance:                                                                                                                                                                                                                          High


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   Transaction Notification                                                                                                                                                                                                                                                                                                                                                              Tuesday, January 09, 2018
   Dear ERIN PETROLEUM LIMITED,

   Please see below details of the DEBIT transaction on your account:

                                                                                                                                                                                                                                    Account Number:      505****111
                                                                                                                                                                                                                                    Effective Date:      Tuesday, January 09, 2018
                                                                                                                                                                                                                                    Currency:            (USD)
                                                                                                                                                                                                                                    Description:         AA3224538 TRSF IFO ERIN ENERGY
                                                                                                                                                                                                                                    CORPORATION BO ERIN PETROLEUM NIGERIA LIMITED
                                                                                                                                                                                                                                    Reference Code:
                                                                                                                                                                                                                                    Branch:              Head Office
                                                                                                                                                                                                                                    Transaction Type:     DEBIT
                                                                                                                                                                                                                                    Date of Transaction: 1/9/2018 11:09:46 AM
                                                                                                                                                                                                                                    Amount:              3,200,000.00
                                                                                                                                                                                                                                    Current Balance:     2,125,404.48
                                                                                                                                                                                                                                    Available Balance:   625,404.48

   Remember: Keep your card and Pin information secure.
   Do not respond to emails requesting for your card/PIN details.
   If you think an email is suspicious, don't click on any links.
   Instead, forward it to zenithdirect@zenithbank.com and                                                                                                                                                                                                                                                                                                                                                             Right-click
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   For enquiries kindly contact ZenithDirect,                                                                                                                                                                                                                                                                                                                                               zenithdirect@zenithbank.com
   our 24hr interactive Contact Centre:
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